     Case 2:20-cv-01266-JFW-KS Document 23 Filed 12/28/20 Page 1 of 1 Page ID #:201




                                                                                                JS-6
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 20-1266-JFW(KSx)                                            Date: December 28, 2020

Title:        Delia Rodriguez -v- Lowes Home Centers, LLC, et al.


PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                   None Present
              Courtroom Deputy                                 Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                 ORDER OF DISMISSAL

        In the Notice of Settlement filed on December 3, 2020, Docket No. 22, the parties represent
that they have settled this action. As a result, the Court dismisses this action without prejudice
subject to either party reopening the action on or before January 6, 2021. The Court will retain
jurisdiction for the sole purpose of enforcing the settlement until January 6, 2021. Thereafter,
absent further order of the Court, the dismissal of this action will be with prejudice. All dates in this
action, including the trial date are vacated.

         IT IS SO ORDERED.




                                                                                   Initials of Deputy Clerk sr
